






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN





NO. 03-04-00522-CV





Willie L. Hill, Appellant



v.



Granger Independent School District, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 01-077-T368, HONORABLE BURT CARNES, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	The judgment in this case was signed April 19, 2004.  The notice of appeal was due
on or before May 19, 2004.  See Tex. R. App. P. 26.1.  Any motion for extension was due by June
3, 2004.  Id. 26.3.  Appellant filed a notice of appeal on June 10, 2004.  Accordingly, the notice of
appeal was late.  A late notice of appeal does not confer jurisdiction on this Court.  See id. 25.1(b);
Ashley v. Harris County Risk Mgmt., 104 S.W.3d 905, 906 (Tex. App.--Corpus Christi 2003, no
pet.).  We may not alter the time for perfecting appeal.  See Tex. R. App. P. 2.  Accordingly, we must
dismiss the appeal.  See Tex. R. App. P. 42.3(a).


					__________________________________________

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Kidd and B. A. Smith


Dismissed


Filed:   November 4, 2004


